543 U.S. 1116
    NEWSOMEv.UNITED STATES;MARTINv.UNITED STATES;CHIMNEYv.UNITED STATES;SONGALIA FLORESv.UNITED STATES;VILLARREAL-MEDINAv.UNITED STATES;ABNEYv.UNITED STATES;GUERREROv.UNITED STATES;AGUILAR-CORTEZv.UNITED STATES;AVILA-CHAVEZv.UNITED STATES;HERNANDEZ-HERNANDEZv.UNITED STATES;DE LOS SANTOSv.UNITED STATES;MEDINA-TENIENTEv.UNITED STATES; andDE LUNA-VIGILv.UNITED STATES.
    No. 03-10272.
    Supreme Court of United States.
    January 24, 2005.
    
      1
      542 U.S. 912; Petitions for rehearing granted. Orders denying petitions for writs of certiorari vacated. Motions of petitioners for leave to proceed in forma pauperis granted. Certiorari granted, judgments vacated, and cases remanded for further consideration in light of United States v. Booker, ante, p. 220.
    
    